                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Case No. 1:49-cv-02782-MSK-CBS                                            Document 398-3                                                  filed 12/09/16                                                USDC Colorado
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                                                                                                                                                                                                                                                                  City and County of Denver Board of Water Commissioners
                                                                                                                                                                                                                                                                                                                                                                         Denver Water Service Area




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WILLOWBROOK W&S DISTRICT




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 KEN-CARYL W&S DISTRICT




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      LOCKHEED MARTIN SPACE SYSTEM CO.




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Service Area                                                                                                                                                                                                                                                                                                           State Parks
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